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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION



    UNITED STATES OF AMERICA,
    ex rel. JON MOHATT,

             Relator,                               CV 16-125-M-DWM

       vs.

    KALISPELL REGIONAL HEALTHCARE;                  ORDER
    KALISPELL REGIONAL MEDICAL
    CENTER; and JOHN DOES 1-100,

             Defendants.

       Defendants Kalispell Regional Healthcare and Kalispell Regional Medical

Center having filed an unopposed motion for an indefinite extension of time to file

their Answer in this case,

       IT IS ORDERED that the motion (Doc. 51) is GRANTED in PART.

Defendants shall have until Oct. 1, 2018, to file their Answer. 1

       DATED    thi~y of August, 201

                                                  . Mo oy, District Judge
                                        unir     ates D1 trict court


1
  In the event the government has not been able to act b October 1, the Court will
consider an additional extension only on grounds other han the government's
inaction.
